Case 3:19-cv-01147-HES-PDB Document 150 Filed 05/18/22 Page 1 of 4 PageID 2301




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRCT OF FLORIDA
                             JACKSONVILLE DIVISION

   JAC’QUANN HARVARD,
            Plaintiff,
   vs.                                       Case No. 3:19cv1147-HES-PDB
   MARK S. INCH, et al.,
            Defendants.




         DEFENDANTS’ REPLY TO PLAINTIFF’S RESPONSE TO
          DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

            Defendants Inch, Blitch, Merritt, Knight, Reagor, Rogers, Porr,

   Gillespie, and Tomlin submit the following reply to Plaintiff’s

   Response to Defendants’ Motion for Summary Judgment (147) and

   state:

            1.    In Plaintiff’s response to Defendants’ Motion for

   Summary Judgment, Plaintiff recites certain facts as being statements

   of material facts in the case and cites Defendants’ Exhibits to justify

   the existence of the facts. (Doc. 147, pp2-3.) Those facts might be

   contained in Defendants’ Exhibits; however, they were not raised in

   Plaintiff’s Amended Complaint; which, more likely than not, is why

   Plaintiff pointed to the Defendants’ Exhibits for the existence of the

                                         1
Case 3:19-cv-01147-HES-PDB Document 150 Filed 05/18/22 Page 2 of 4 PageID 2302




   facts and not to Plaintiff’s Amended Complaint.

        2.    Plaintiff goes on to state that Plaintiff grieved her

   placement into close management and the use of excessive force for

   chemical agents, claims not raised in the Amended Complaint. (Doc.

   147, p3). Review of Plaintiff’s Amended Complaint and the facts

   contain therein reveal that these were not claims raised in Plaintiff’s

   Amended Complaint. (Doc. 11). Plaintiff’s Amended Complaint raises

   the issues of a cell extraction excessive force. Plaintiff’s Amended

   Complaint does not contain facts relating to a chemical agents

   excessive force or Plaintiff’s placement in close management. (Id.)

         3.   Under the PLRA, the Plaintiff has to exhaust her

   administrative remedies for the claims raised in the complaint. “A

   prisoner must exhaust his administrative remedies as to each claim

   and each party set forth in his complaint.” Rodriguez v. Inch, No.

   4:19CV191-RH-HTC, 2020 WL 3052517, at *6 (N.D. Fla. May 6,

   2020), report and recommendation adopted, No. 4:19CV191-RH-

   HTC, 2020 WL 3050231 (N.D. Fla. June 8, 2020) (citing Martinez v.

   Minnis, 257 F. App'x 261, 265 (11th Cir. 2007) n. 5 (11th Cir 2007));

   see also Vandiver v. Martin, 48 F. App'x 517, 519 (6th Cir. 2002) (“The

   exhaustion requirement would be defeated if an inmate were


                                       2
Case 3:19-cv-01147-HES-PDB Document 150 Filed 05/18/22 Page 3 of 4 PageID 2303




   permitted to raise additional issues and name additional defendants

   in a § 1983 action that were never mentioned in the grievance.”).

       4.     Exhausting claims not raised in the Amended Complaint

   but contained in Defendants’ Exhibits, does not mean that Plaintiff

   exhausted her administrative remedies.       Additionally, a Plaintiff

   cannot raise a new unrelated issue at summary judgment stage.

   Chaney v. United States, 658 F. App'x 984, 988 (11th Cir. 2016).

       5.     Therefore, Defendants request for the reasons stated in

  their Motion for Summary Judgment that the Court dismiss Plaintiff’s

  Amended complaint.




                                           Respectfully Submitted,

                                           ASHLEY MOODY
                                           ATTORNEY GENERAL

                                           /s/ Shirley Wilson Durham
                                           Shirley Wilson Durham
                                           Senior Assistant Attorney General
                                           Florida Bar No.: 0993204
                                           Office of the Attorney General
                                           The Capitol, Suite PL-01
                                           Tallahassee, Florida 32399
                                           Telephone: (904) 456-6572
                                           Facsimile: (904) 858-6983
                                           Shirley.durham@myfloridalegal.com


                                       3
    Case 3:19-cv-01147-HES-PDB Document 150 Filed 05/18/22 Page 4 of 4 PageID 2304




                       CERTIFICATE OF SERVICE

     We electronically filed the foregoing with the Clerk of the Court by using the

CM/ECF system, the foregoing was served to: James V. Cook, Esq., Law Office of

James Cook, 314 West Jefferson Street, Tallahassee, FL 32301 on May 18, 2022.

                                         /s/ Shirley Wilson Durham
                                         Shirley Wilson Durham
                                         Senior Assistant Attorney General




                                            4
